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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:14CR409

      vs.
                                                       MEMORANDUM AND ORDER
DILANG DAT,

                     Defendant.


       This matter is before the Court on the Defendant’s Notice of Appeal, ECF No.

369, and Motion for Leave to Appeal In Forma Pauperis, ECF No. 370, which the Court

will also construe as a Motion for Certificate of Appealability. The Defendant seeks to

appeal from the Memorandum and Order, ECF No. 354, and Judgment, ECF No. 355,

denying his Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody (“§ 2255 motion”).

       Federal Rule of Appellate Procedure 24 governs the Defendant’s ability to

proceed in forma pauperis in this appeal. Before the Defendant may appeal the denial

of his § 2255 motion, however, a “Certificate of Appealability” must issue. Pursuant to

the Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-132, 110

Stat. 1214 (“AEDPA”), the right to appeal the denial of a § 2255 motion is governed by

the certificate of appealability requirements of 28 U.S.C. § 2253(c).          28 U.S.C. §

2253(c)(2) provides that a certificate of appealability may issue only if the applicant has

made a substantial showing of the denial of a constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability,
       an appeal may not be taken to the court of appeals from–

              ....
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                     (B) the final order in a proceeding under section 2255.

      (2) A certificate of appealability may issue under paragraph (1) only if the
      applicant has made a substantial showing of the denial of a constitutional
      right.

      (3) The certificate of appealability under paragraph (1) shall indicate which
      specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

      A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree

that) the petition should have been resolved in a different manner or that the issues

presented were ‘adequate to deserve encouragement to proceed further.’” Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 &

n.4 (1983)).

      The issues raised in the § 2255 motion were carefully considered.          For the

reasons set forth in the Court’s previously issued Memorandum and Order, ECF No.

354, denying the Defendant’s § 2255 motion, the Court concludes that the Defendant

has not made a substantial showing of the denial of a constitutional right as required by

28 U.S.C. § 2253(c).

      IT IS ORDERED:

      1.       The Defendant’s Motion for Leave to Proceed In Forma Pauperis,

               construed as a Motion for Certificate of Appealability, ECF No. 370, is

               denied;

      2.       The Court denies the Defendant leave to proceed in forma pauperis on

               appeal; and



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      3.    The Clerk is directed to mail a copy of this Memorandum and Order to the

            Defendant at his last known address.

      Dated this 4th day of December, 2017.

                                              BY THE COURT:
                                              s/Laurie Smith Camp
                                              Chief United States District Judge




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